                                               November 8, 2022

VIA ELECTRONIC FILING
The Hon. Deborah L. Boardman, U.S.D.J.
U.S.D.C., District of Maryland
101 West Lombard Street
Chambers 8C
Baltimore, MD 21201

                Re: Lacks v. Thermo Fisher Scientific, No. 1:21-cv-02524


Dear Judge Boardman:

We write on behalf of Plaintiff to advise the Court that Plaintiff wishes to amend his complaint
and accordingly requests a conference call with the Court for that purpose. Plaintiff is conferring
with Defendant as to whether it will consent to an amendment of the complaint.

We thank the Court for its consideration of this request. If the Court has any questions, we are
available at its convenience.

                                                      Respectfully submitted,

                                                      /s/ Kim Parker
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